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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION




UNITED STATES OF AMERICA,

             Plaintiff,
                                                       CASE NO. 1:05-CR-163
v.
                                                       HON. ROBERT HOLMES BELL
LASHARR DEVON WILLIAMS,

             Defendant.
                                  /


                      MEMORANDUM OPINION AND ORDER

      This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C.§3582(c)(2) (docket #1087). Based on a review of

defendant’s motion, the Sentence Modification Report, submissions by counsel on behalf of

the defendant and the government, and the original criminal file, the Court has determined

that the motion should be denied for the following reason(s):

      Defendant’s original guideline calculation was based on powder cocaine and not crack

cocaine. Accordingly, defendant is ineligible for a modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2).




Date: April 3, 2012                      /s/ Robert Holmes Bell
                                         ROBERT HOLMES BELL
                                         UNITED STATES DISTRICT JUDGE
